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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG * MDL NO. 2179
“DEEPWATER HORIZON” in the *
GULF OF MEXICO, on * SECTION: J
APRIL 20, 2010 *
*
Relates to: All Cases. * JUDGE BARBIER
* MAG JUDGE SUSHAN
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ORDER

Pursuant to Pre-Trial Order No. 13, the Plaintiffs Steering Committee (“PSC”) has been
engaged in the process of challenging the designation of specific documents as Confidential or
Highly Confidential by serving written objections upon the respective producing parties. Also
pursuant to Pre-Trial Order No. 13, the producing parties have responded to the PSC’s objections
in writing by either: 1) agreeing to remove the Confidential or Highly Confidential designation; or
2) stating the reasons for such designation.

Attached to this Order is a chart of the PSC’s challenges/objections to date and producing
party _’s respective responses to date. The attached chart outlines the current status of
Confidential and Highly Confidential designations, or the withdrawing of same, relative to the

documents identified on the chart of challenged documents produced to date. Where the attached

PLAINTIFF'S
EXHIBIT

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chart indicates that the confidential designation for a particular document has been changed, removed
or otherwise withdrawn, that is now the official designation of that document. For example, where
the chart indicates that the producing party agrees to withdraw the confidential designation, said
document is no longer confidential, even if the actual document still has “Confidential” or “Highly
Confidential” physically bates stamped on it. If desired, the producing parties and/or the PSC are
permitted to physically remove any “Confidential” or “Highly Confidential” bates stamping on
documents for which the confidential designation have been removed or otherwise withdrawn
pursuant to the attached chart.

The attached chart identifies the only documents produced by which, to date, have
had their confidential status challenged, changed or withdrawn. All parties are instructed that any
documents produced by __ with a “Confidential” or “Highly Confidential” bates stamp shall still
be recognized and treated as such pursuant to Pre-Trial Order No. 13, unless the document is listed
on the attached chart as having its confidential designation removed or otherwise withdrawn. The
respective producing party and/or the PSC shall update the attached chart and serve the updated
cumulative chart upon the Court and the other parties as responses from the producing party are
made to additional confidentiality challenges/objections from the PSC. The terms of this Order shall
apply to all updated charts.

New Orleans, Louisiana, this day of September, 2011.

SALLY SHUSHAN
United States Magistrate Judge
